Case:17-40839-EJC Doc#:81 Filed:06/05/18 Entered:06/05/18 16:32:54                        Page:1 of 3


                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF GEORGIA
                                   SAVANNAH DIVISION

 IN RE:                                      )
                                             )
 RONALD W MCELHANEY,                         )        CHAPTER 13
        Debtor.                              )
                                             )        CASE NO. 17-40839-EJC
 MARTHA A. MILLER,                           )
       Trustee.                              )
                                             )



  CONDITIONAL OBJECTION OF WELLS FARGO BANK, N.A. TO TRUSTEE’S
EXPEDITED MOTION FOR LEAVE TO SELL REAL PROPERTY FREE AND CLEAR
                     OF LIENS (DOC. ENT # 75)

       Comes now WELLS FARGO BANK, N.A. (“WELLS FARGO”), holder of a first position

security interest in real property commonly known as 526 E. 46th St, Savannah, GA 31405, and

files this Conditional Objection to Trustee’s Expedited Motion for Leave to Sell Property Free and

Clear of Liens, Claims and Encumbrances showing the Court as follows:

                                             FIRST DEFENSE

       WELLS FARGO does not oppose the sale of the Property provided


            i.   WELLS FARGO is paid the full debt owed to WELLS FARGO and secured by the

                 Property

          ii.    An updated payoff is requested from WELLS FARGO immediately prior to the

                 closing and WELLS FARGO is paid the full amount owed consistent with such

                 payoff within 48 hours of the closing and

          iii.   The Trustee files a written report of sale within 48 hours of closing.



                                                                                           1|Page
Case:17-40839-EJC Doc#:81 Filed:06/05/18 Entered:06/05/18 16:32:54                     Page:2 of 3


                                         GENERAL DENIAL

           Any allegations of the Trustee’s Motion not addressed in this conditional objection are

denied.


           WHEREFORE, WELLS FARGO prays that

      i.          Any Order approving and authorizing the sale of the Property provide that WELLS

                  FARGO is to be paid the full debt owed to WELLS FARGO and secured by the

                  property from the sales proceeds, that such payment be made pursuant to an

                  updated payoff requested immediately prior to the closing, that payment be

                  remitted to WELLS FARGO within 48 hours of closing.

     ii.          The sale motion be denied as to WELLS FARGO unless the above conditions are

                  satisfied

    iii.          This Court grant such other relief as is just and proper.


This 5th day of June 2018.

                                                 Barrett Daffin Frappier Turner & Engel, LLP


                                                 By:_/s/Brandi R. Lesesne___________________
                                                 Brandi R. Lesesne
                                                 Georgia Bar No.: 141970
                                                 Attorneys For Wells Fargo Bank, N.A.

4004 Belt Line Road, Suite 100
Addison, TX 75001
(972) 341-0560




                                                                                         2|Page
Case:17-40839-EJC Doc#:81 Filed:06/05/18 Entered:06/05/18 16:32:54                    Page:3 of 3




                                CERTIFICATE OF SERVICE

           This is to certify that I have served a copy of the CONDITIONAL OBJECTION OF

WELLS FARGO BANK, N.A. TO TRUSTEE’S MOTION TO SELL via electronic means as

listed on the Court's ECF noticing system or by regular first class mail by depositing same in the

United States mail in a properly addressed envelope with adequate postage thereon to insure

delivery upon the following:

Debtor:
Ronald W McElhaney
526 E. 46th Street
Savannah, GA 31405

Debtor’s Attorney:
Jeremiah B Gastin
Gastin & Hill
P O Box 8012
Savannah, GA 31412

Trustee:
Tiffany E. Caron, Trustee
P.O. Box 9056
Savannah, GA 31412

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND

CORRECT.

                                                     By: /s/Brandi R. Lesesne
                                                      Brandi R. Lesesne
                                                      Ga. Bar No. 141970




                                                                                        3|Page
